
USCA1 Opinion

	










          May 7, 1996
                                [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT



                                 ____________________


        No. 95-1805

                                   ERVIN TRIPLETT,

                                Plaintiff, Appellant,

                                          v.

                           LARRY E. DUBOIS AND PETER PEPE,

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Joseph L. Tauro, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                                 Selya, Cyr and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Ervin Triplett on brief pro se.
            ______________
            Nancy  Ankers  White,  Special  Assistant  Attorney  General,  and
            ____________________
        Thomas  E. Abruzzese, Counsel, Department  of Correction, on brief for
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        appellees.


                                 ____________________


                                 ____________________



                 Per  Curiam.  We  have reviewed the  parties' briefs and
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            the  record on appeal.  We affirm essentially for the reasons

            stated  in the  district court's  memorandum, dated  June 29,

            1995.  We add only the following.

                 Even  were we  to  assume, as  appellant Ervin  Triplett

            argues, that he  alleged, and the district  court should have

            considered,  facts  in his  own  motion  for partial  summary

            judgment that specified the  defendants' personal role in the

            alleged deprivation of his rights,  he would not be  entitled

            to relief in this   1983  action, based on those "facts."  He

            claims that he was unlawfully deprived  of his television set

            without  being afforded predeprivation  due process, pursuant

            to  a policy  announced  by defendant  Pepe  and condoned  by

            defendant Dubois, that authorizes the removal of a television

            set from  the cell of an  inmate who is on  "awaiting action"

            status  for  receipt  of  a disciplinary  report.    Triplett

            contends  that  this  policy  is unlawful  as,  according  to

            Triplett, there is no statutory  authorization for it.   Even

            assuming,  arguendo,  that   Triplett  is  correct   in  this
                       ________

            contention,1  he, nonetheless,  would  not  prevail.    "[A]n
                       1

                                
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               1But  see Mass. Gen. L.  ch. 124,    1(q) (authorizing the
               1________
            commissioner of  correction to make and  promulgate necessary
            rules and regulations incident to  the exercise of his powers
            and  the  performance  of  his  duties  including  rules  and
            regulations  regarding discipline); 103 CMR 430.21(a) (giving
            the  superintendent or  his  designee authority  to place  an
            inmate  under  investigation  for  a   possible  disciplinary
            offense on awaiting action  status, which may include  a more
            restrictive  confinement); and  103 CMR  421.20(5) (providing
            that, in a segregated  unit, a cell may include  a television
            but it shall  be subject  to procedures for  its removal  and

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            unauthorized intentional deprivation  of property by a  state

            employee does  not constitute  a violation of  the procedural

            requirements  of the  Due  Process Clause  of the  Fourteenth

            Amendment if a meaningful postdeprivation remedy for the loss

            is available."  Hudson  v. Palmer, 468 U.S. 517,  533 (1984);
                            ______     ______

            see also Watson v.  Caton, 984 F.2d 537, 541 (1st  Cir. 1993)
            ________ ______     _____

            (per curiam) (holding that  there is no  legal basis for a   

            1983 action where  the allegation  is that the  action was  a

            deviation from, and not a reflection of, an established state

            procedure).     Triplett  makes  no   allegation  here   that

            Massachusetts affords no adequate postdeprivation remedy, and

            that  ends  the matter.    See  Romero-Barcelo v.  Hernandez-
                                       ___  ______________     __________

            Agosto,  75 F.3d 23, 33 (1st Cir. 1996) (declining to address
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            whether an adequate postdeprivation remedy is available under

            state law  absent either  any allegation or  argumentation on

            the point by the plaintiff).

                 Similarly,  insofar  as  Triplett's  complaint  might be

            construed as alleging a violation of substantive due process,

            he  would  not prevail.   Triplett  does  not (and  could not

            reasonably) contend that an inmate has a constitutional right

            to possess a television set in his cell and the fact that the

            defendants  removed  Triplett's television  set prior  to his

            disciplinary hearing for possessing a razor blade in his cell

            simply does  not rise to  the level of  "conscience shocking"

                                
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            return).

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            conduct.   See Brown v.  Hot, Sexy &amp;  Safer Prods.,  Inc., 68
                       ___ _____     ________________________________

            F.3d 525, 531  (1st Cir. 1995) (outlining two  theories under

            which a plaintiff may bring a substantive due process claim -

            - demonstration of a deprivation of an identified liberty  or

            property interest  protected by  the Fourteenth Amendment  or

            state's conduct that "shocks  the conscience"), cert. denied,
                                                            ____________

            116 S. Ct. 1044 (1996).

                 The district court order granting the defendants' motion

            to dismiss is

                 Affirmed.
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